       Case 24-30465-5-wak Doc 42-1 Filed 07/25/24 Entered 07/25/24 14:15:55                                        Desc
                    Ntc Late Install Payment: Notice Recipients Page 1 of 1
                                                    Notice Recipients
District/Off: 0206−5                       User: admin                         Date Created: 07/25/2024
Case: 24−30465−5−wak                       Form ID: latepmt                    Total: 3


Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Thomas William Pritchard        5107 Old Barn Road       Clay, NY 13041
ust         U.S. Trustee      U.S. Trustee Office      10 Broad Street,     Room 105          Utica, NY 13501
tr          William J. Leberman−Trustee        One Lincoln Center       110 W. Fayette Street       Suite 720   Syracuse,
            NY 13202
                                                                                                                TOTAL: 3
